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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
EL PASO DIVISION

EMILIO GUTIERREZ-SOTO and
OSCAR GUTIERREZ-SOTO,

Petitioners,
v.
EP-18-CV-00071-DCG
JEFFERSON SESSIONS III, in his ojj‘icial
capacity as Attorney General of the Unitea'
States,' KIRSTJEN NIELSEN, in her
ojj’icial capacity as Secretary of U.S.
Department of Homeland Security;
THOMAS HOMAN, in his ojj’l`cial capacity
as Director of U.S. Immigrations and
Customs Enforcement,' WILLIAM JOYCE,
in his official capacity as Acting El Paso
Field Ojj'z`ce Directorfor U.S. Immigration
and Customs Enforcernent; and UNITED

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STATES DEPARTMENT OF
HOMELAND SECURITY,
Respondents.
ORDER DISMISSING CASE

Presently before the Court is Respondents’ “Motion to Dismiss” (“Motion”) (ECF No.
58) flled on July 27, 2018. Therein, Respondents ask the Court to dismiss the instant case
because Petitioners have been released from custody, which moots the habeas petition. Mot. at
3-4. Petitioners filed their Writ of Habeas Corpus in this case requesting that the Court order
Respondents to release Petitioners from detention. Writ at 20, ECF No. l. Respondents have
now released Petitioners from detention. Mot,, Ex. 1-2. Therefore, Petitioners’ Writ is rendered
moot. See Salgado v. Fed. Bureau of Prl'sons, 220 F. App’x 256, 257 (5th Cir. 2007) (“An

appeal is not moot simply because a § 2241 petitioner is no longer in custody. However, an

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action is moot when the court cannot grant the relief requested by the moving party.” (internal
citation omitted)).

Accordingly, IT IS ORDERED that Respondents’ “Motion to Dismiss” (ECF No. 58) is
GRANTED.

IT IS FURTHER ORDERED that Petitioners Ernilio Gutierrez-Soto and Oscar
GutierreZ-Soto’s “Petition for Writ of Habeas Corpus” (ECF No. l) is DISMISSED AS MOOT.
IT IS MOREOVER ORDERED that all pending motions and orders, if any, are

DISMISSED AS MOOT.

IT IS FINALLY ORDERED that the Clerk of the Court shall CLOSE this case.

So ORDERED and SIGNED this 2 2 lag-ay of July 2018.

-/%v\

DAVI'D c. GUADERRAMA
UNITED sTATEs DISTRICT JUDGE

